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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-599 (RBW)
                                     )
DONNIE DUANE WREN and THOMAS )
HARLEN SMITH,                        )
                                     )
                  Defendants.        )
____________________________________ )

                                             ORDER

        In light of the upcoming pre-trial conference scheduled for March 13, 2023, in this case,

it is hereby

        ORDERED that, on or before March 6, 2023, at 5:00 p.m., the parties shall file any

oppositions to the pre-trial motions filed on February 24, 2023.

        SO ORDERED this 1st day of March, 2023.

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                                                             REGGIE B. WALTON
                                                             United States District Judge
